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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                            Criminal No. 13-20156
                   Plaintiff,               Honorable George Caram Steeh
v.

D-1   Alfredo Antonio Martinez
      a/k/a “Cholo,” “Victor Manuel Berrios,”

               Defendant.
__________________________________/


           STIPULATED PRELIMINARY ORDER OF FORFEITURE

      The United States of America, by and through its attorneys, BARBARA L.

McQUADE, United States Attorney for the Eastern District of Michigan, and

JULIE A. BECK, Assistant United States Attorney, together with Defendant

ALFREDO ANTONIO MARTINEZ, by and through his attorney, ALEX R.

KESSEL, hereby submit this Stipulated Preliminary Order of Forfeiture:

      1.     WHEREAS, a Superseding Indictment (Indictment) was issued on

October 2, 2013 charging Defendant ALFREDO ANTONIO MARTINEZ, in

Count One with Conspiracy to Possess with Intent to Distribute and Distribution of

Five (5) Kilograms or More of Controlled Substances (Cocaine) in violation of 21


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U.S.C. §§ 846, 841(a), 84l(b)(l)(A)(ii)(II), Count Two with Continuing Criminal

Enterprise in violation of 21 U.S.C. § 848(a) and (c), and Count Three with

Possession with Intent to Distribute a Controlled Substance (Cocaine) in violation

of 21 U.S.C. § 841(a)(1) and (b)(1)(A)(ii)(II).

      2.     WHEREAS, the government filed a Second Forfeiture Bill of

Particulars (docket #157), which included One 2007 Lexus ES350, VIN:

JTHBJ46G372032892 and One 2008 Ford F350 4X4, VIN:

1FTWW33R38EA37627, (hereafter “Subject Vehicles”), which are associated

with Defendant ALFREDO ANTONIO MARTINEZ.

      3.     WHEREAS, Defendant ALFREDO ANTONIO MARTINEZ entered

into a Rule 11 Plea Agreement (Rule 11) (docket #225) in which he agreed to

plead guilty to Count Two of the Superseding Indictment.

      4.     WHEREAS, Defendant ALFREDO ANTONIO MARTINEZ agreed

in his Rule 11 to the entry of a Stipulated Preliminary Order of Forfeiture, at or

after the time his guilty plea is entered, with regard to a forfeiture money judgment

in the amount of $1,500,000. Defendant agreed that $1,500,000 is the amount of

money he will be ordered to pay under Fed. R. Crim. P. 32.2(b), and agreed that

this amount constitutes, or was derived from, the proceeds he obtained, directly or

indirectly, from the crime charged in Count Two of the Superseding Indictment
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and other such related conduct as described in the Rule 11 Plea Agreement, Section

7.

      5.    WHEREAS, the government agrees to return the vehicles to

Defendant, or a representative he designates, upon payment of the storage fees,

which total $6,487.25 as of June 30, 2015, and accrue thereafter at $4.75 per

vehicle per day, by remitting certified funds, made payable to the United States

Marshal Service.

      6.    WHEREAS, in entering into this agreement with respect to forfeiture,

Defendant ALFREDO ANTONIO MARTINEZ knowingly, voluntarily, and

intelligently waives any challenge to the above-described forfeiture based upon the

Excessive Fines Clause of the Eighth Amendment to the United States

Constitution.

      7.    Defendant ALFREDO ANTONIO MARTINEZ agrees to release,

remise and discharge plaintiff, the United States of America, and any of its

agencies involved in this matter, including the Drug Enforcement Agency and the

United States Marshals Service, the United States Attorney’s Office, and its agents,

officers and employees, past and present, from all claims or causes of action which

the parties and their agents, officers, employees, assignees and/or successors in

interest have, may have had or may have on account of the events or circumstances
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giving rise to seizure and forfeiture of the Subject Vehicles.

      8.     WHEREAS, Defendant ALFREDO ANTONIO MARTINEZ further

waives the requirements of Federal Rules of Criminal Procedure 32.2 and 43(a)

regarding notice of the forfeiture in the charging instrument, announcement of the

forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

Defendant ALFREDO ANTONIO MARTINEZ acknowledges he understands that

the forfeiture of assets is part of the sentence that may be imposed in this case and

waives any failure by the Court to advise him of this, pursuant to Rule 11(b)(1)(J),

at the time his guilty plea is accepted.

      9.     WHEREAS, Fed. R. Crim. P. 32.2(b)(2)(A) and (B) provide that the

Court must enter a preliminary order of forfeiture directing the forfeiture of

specific property that it finds is subject to forfeiture sufficiently in advance of

sentencing to allow the parties to suggest revisions or modifications, before the

order becomes final as to Defendant ALFREDO ANTONIO MARTINEZ under

Rule 32.2(b)(4), unless doing so is impractical.

      NOW THEREFORE, based upon Defendant ALFREDO ANTONIO

MARTINEZ’s acknowledgment of criminal forfeiture proceedings against

defendant property, Defendant’s Rule 11 Plea Agreement and guilty plea, and the

information in the record,
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      IT IS HEREBY ORDERED that a money judgment in the amount of

$1,500,000 is hereby entered against Defendant ALFREDO ANTONIO

MARTINEZ in favor of the United States of America;

      IT IS FURTHER ORDERED that pursuant to Fed.R.Crim.P. 32.2(c)(1) and

(c)(2) this Preliminary Order of Forfeiture shall become final as to the Defendant

and all other persons upon entry and shall be made part of the sentence and

included in the judgment, given that the forfeiture consists entirely of a money

judgment and ancillary proceedings are not required.

      The Court shall retain jurisdiction to enforce this Preliminary Order of

Forfeiture, and to amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

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                       Approved as to form and substance:

BARBARA L. McQUADE
United States Attorney

s/JULIE A. BECK                            s/ALEX R. KESSEL
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Julie.Beck@usdoj.gov                       kessellawfirm@gmail.com

Dated: June 16, 2015                       Dated: June 4, 2015

                                           (Signature page attached)
                                           ALFREDO ANTONIO MARTINEZ
                                           Defendant

                                           Dated: June 4, 2015




IT IS SO ORDERED.

                                    s/George Caram Steeh
Dated: June 22, 2015                HONORABLE GEORGE CARAM STEEH
                                    United States District Judge




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